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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
___________________________________________________X
                                                     )
ESTATE OF ALKIVIADES MEIMARIS and                    )
HELEN MEIMARIS,                                      )                1:18-cv-4363
                        Plaintiﬀs,                   )
                                                     )
                                                     )                AMENDED
             -against-                               )                COMPLAINT
                                                     )                AND DEMAND
                                                     )                FOR JURY TRIAL
JOSEPH E. ROYCE, LAWRENCE A. BLATTE,                 )
TULIO PRIETO , JAIME LEROUX,                         )
TBS Shipping Services Inc., and Guardian Navigation  )
                                                     )
                        Defendants.                  )
____________________________________________________ X

       PLAINTIFFS, The Estate of Alkiviades Meimaris and Helen Meimaris, as and for this
Complaint against Defendants, Joseph E. Royce, Lawrence A. Blatte, Tulio Prieto, Jaime
Leroux, TBS Shipping Services Inc. and Guardian Navigation allege, upon knowledge and
information and belief, as follows:

                               PRELIMINARY STATEMENT

       1.      Plaintiﬀs bring this action to recover the losses suﬀered at the hands of
Defendants, Joseph E. Royce, Lawrence A. Blatte, Tulio Prieto, Jaime Leroux, TBS Shipping
Services Inc. and Guardian Navigation compensatory damages of at least $20 million, special
damages of $20 million, exemplary damages of $20 million and punitive damages of at least
$50 million.

        2.     Plaintiﬀs and defendants had a long standing relationship. They were not only
business partners, but very good friends. They attended social functions together and
socialized outside of the work place.

       3.    On or about 1993, Captain Alkis Meimaris, Joseph Royce and Gregg McNelis
formed TBS Shipping International and TBS Commercial Group. Later on, Lawrence Blatte
became a partner. The home oﬃce for both companies was 612 East Grassy Sprain Road,
Yonkers, New York. Joseph Royce and Gregg McNelis had the commercial background of
shipping. Captain Meimaris, understood the technical aspects of the shipping industry, as he
was a former Captain with an impressive resume in the technical ﬁeld . Lawrence Blatte, had
no knowledge of the shipping industry.

        4.     Captain Meimaris, Mr. Royce and Mr. McNelis worked very hard growing the
business, from owning 7-9 ships to over 32 ships. Due to this success, in 2005, TBS Shipping
International went public and was listed on The NASDAQ. The TBS Commercial Group
remained a private entity held by the four shareholders .

       5.     In February of 2006, Captain Meimaris retired from TBS International. He
continued to consult for the Company, went to Brazil several times on business trips for the
Company and attended yearly agency meetings held in Yonkers, New York.
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6.             On or about October 2011, Captain Meimaris and his wife, Helen Meimaris,
received a call from attorney Tulio Prieto. Mr. Prieto told Mr. and Mrs. Meimaris that he was
faxing over a document to be signed. The Meimaris’ asked Mr. Prieto what type of document
this was. Mr. Prieto stated that it had to do with Meimaris’ 10 % ownership of shares in TBS
Commercial Group. Mr. Prieto asked Captain Meimaris if Mr. Royce had spoken to him about
the document. Captain Meimaris stated that no one had spoken to him about the document.
Captain Meimaris’ fax machine was not working so Mr Prieto said that he would send it to the
oﬃce, located at 612 East Grassy Sprain Road, Yonkers, NY, as the Captain’s daughter, Alkistis
Meimaris worked for the Company. Mr. Prieto advised Captain Meimaris to speak to Mr. Royce
if he needed clariﬁcation regarding this document.

7.      Later that day Alkistis Meimaris , who worked as Deputy Compliance Oﬃcer and Head
of Global Corporate Development and Training for the Company, was approached by Mr.
Royce’s cousin, Tara Demakes, who was Vice-President of Quality and Compliance Oﬃcer.
Ms. Demakes gave Alkistis the document prepared by Mr. Prieto. Ms. Demakes stated to
Alkistis, “you do realize that the Meimaris’ are giving up all rights and interests in TBS
Commercial Group for no compensation .” Alkistis asked whether anyone else In the company
was giving up their shares. Ms. Demakes stated that no one else was giving up their shares.
Alkistis promptly called her parents and told them if any documents are received by them to
not to sign anything and explained what Ms. Demakes told her.

8.     The next day, Captain Meimaris contacted Mr. Royce to discuss the document. Mr.
Royce told Captain Meimaris that he would explain it to Alkistis since he was going out of
town, and that he and Captain Meimaris could meet when he got back from his business trip.

9.      Sometime later that week, Mr. Royce asked to speak with Alkistis Meimaris. They went
into a conference room where Mr. Royce told Alkistis that he wanted her father to relinquish his
shares in TBS Commercial Group to protect him from the impending reorganization which was
going to take place for TBS International. Alkistis asked him if anyone else was doing this. Mr.
Royce responded that Jim Bailey was relinquishing his shares. Alkistis assured Mr. Royce that
she would relay this to her parents. Mr. Royce said he would meet with the Captain upon his
return from his business trip.

10.     In December of 2011, Defendant Mr. Royce visited Captain and Mrs. Meimaris in their
home at 4 Crescent Way, Fort Lee, New Jersey. Present were Captain Meimaris, Helen
Meimaris, and their daughters, Angel Meimaris and Alkistis Meimaris and their granddaughter
Eleni Papageorgiou. Mr. Royce proceeded to ask Captain Meimaris and Helen Meimaris to
transfer their shares and relinquish all rights in TBS Commercial Group to him for no
compensation. Captain Meimaris and Mrs. Meimaris adamantly declined. Captain Meimaris
told Mr. Royce, “we built this company together, traveling, not seeing our families to make it
successful and now you want me to give everything up for no compensation?” Captain
Meimaris was devastated that’s his business partner and long time friend would ask this of
him. Captain Meimaris and his wife ﬂatly refused to transfer the shares. Mr. Royce left.

11.    In May of 2012, Mr. Royce terminated Alkistis Meimaris from employment because
upon information and belief, Captain Meimaris would not transfer his shares .

12.    Captain Meimaris became absorbed in caring for his wife who was very ill and assumed
his shares in TBS Commercial Group were still in existence.

13.   In the summer of 2013, Captain Meimaris learned that his shares in TBS Commercial
Group no longer existed, that his friend and partners had squeezed him out of TBS
Commercial Group and had used TBS Commercial group as part of the Reorganization
package with the banks for TBS International. In that transaction the banks took 90% of TBS
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International and Joseph Royce, Gregg McNelis and Lawrence Blatte took the other 10% of
TBS International as shares. Captain Meimaris was squeezed out of his interests in TBS
International and TBS Commercial Group by his friends and partners.       In a telephone
conversation with Gregg Mcnelis, Captain Meimaris asked Gregg what happened to his shares.
Mr. McNelis hung up the phone without responding.

14.     Captain Meimaris fell into a deep depression.         He was uncommunicative and
unresponsive when spoken to.        He could not believe that his friends, whom he trusted
implicitly, whom he built the companies with, had defrauded him.

15.    In October 2013, Captain Meimaris was diagnosed with non small cell lung cancer.

16.   Knowing of his illness, prognosis and impending death, Captain Meimaris authored an
aﬃdavit outlining what Defendants had done while his daughter wrote a parallel Aﬃdavit
supporting his testimony.

17.     The last words to come out of Captain Meimaris’ mouth were apologies to his wife and
children, including Alkistis for what had happened.

                                           PARTIES

18.    Plaintiﬀ, Estate of Captain Alkiviades Meimaris, deceased, having lived at 4 Crescent
Way, Fort Lee, New Jersey, having done business in New York for over 20 years.

19.    Plaintiﬀ, Helen Meimaris, living at 4 Crescent way, Fort Lee, New Jersey.

20.   Upon information and belief, Defendant Joseph E. Royce is a citizen of New York and
does business in New York.

21.   Upon information and belief, Defendant, Lawrence A. Blatte, is a citizen of New York
and does business In New York.

22.    Upon information and belief, Defendant, Tulio Prieto, is a citizen of New York and does
business in New York.

23.    Upon information and belief, Defendant Jaime Leroux does business in New York.

24.    Upon information and belief, Defendant TBS Shipping Services Inc. has its principle
place of business in New York.

                                 JURISDICTION AND VENUE

24.   This Court has diversity jurisdiction over the case pursuant to 28 U.S.C. §1332, as the
Defendants reside in New York and Ecuador and the Plaintiﬀs reside in New Jersey and the
amount in controversy is over $75,000.00. Venue in this Court is proper pursuant to 28 U.S.C.
1391.

                                   STATEMENT OF FACTS

Captain Meimaris Aﬃliation with Defendants

25.    Paragraphs1 through 24 are adopted as if fully set forth herein.
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26.     Captain Meimaris joined COTCO Shipping in 1987 as Director of Operations. He was
hired by Joseph Royce and Michael Hudner, partners of COTCO for his extensive expertise
and experience in the technical and operational knowledge of ships. Captain Meimaris
became a Captain at the age of 30 years old and had held many executive positions prior to
joining COTCO. Joe Royce and Michael Hudner knew only the commercial and ﬁnancial
aspects of shipping.

27.     In or about 1992, Joe Royce and Michael Hudner had a falling out. They parted ways
after a contentious litigation. Mr. Hudner asked Captain Meimaris to join him in his company
B&H Shipping. Captain Meimaris declined the invitation as he considered Mr. Royce a close
friend. Therefore, he remained with Mr. Royce.

28.     In 1993, Mr. Royce, Captain Meimaris, Mr. McNelis and (later Mr. Blatte)formed TBS
International and TBS Commercial Group. All had shipping knowledge with the exception of
Mr. Blatte. Mr. Blatte was an Attorney and friend of Mr. Royce, whose ﬁrm, Rosen & Reade had
handled the litigation between Mr. Royce and Mr. Hudner with regard to COTCO. Upon
information and belief, Mr. Blatte, became a partner in TBS International in direct conﬂict with
his position as Senior Partner at Rosen & Reade. Upon information and belief, this led to Mr.
Blatte being ﬁred from Rosen & Reade for his indiscretion.

29.    Captain Meimaris’ interests in TBS International are as follows:
       Pre Listing 2005: 75,000 Class A shares, 75,000 Class B Shares, 130,000 Class C
       Shares and 75,000 Preference Shares

       Post-Listing: 369,322 Class A Shares and 609,888 Class B Shares


       Captain Meimaris’ interests in TBS Commercial Group are as follows: 10% ownership.

30.     From the period of 1993-2005, Captain Meimaris, Mr. Royce and Mr. McNelis worked
together around the clock to grow the business. They were constantly on endless business
trips. They grew the business, beginning with 7-9 old ships, and by 2005, to over 31 ships.

31.     Mr. Blatte worked at TBS prior to being ﬁred from Rosen & Reade. He then came on
full-time after he was ﬁred from Rosen & Reade. He was only at TBS because he was a friend
of Mr. Royce. It was speculated that he was allowed to join the Company as an executive
because he allegedly had negative information about Mr. Royce. Mr. Blatte would show up
whenever he wanted to work, getting paid to play computer games.

TBS International listed on the NADAQ

32.     In 2005, all their hard work paid oﬀ. The Company was so successful that the partners
decided to do an IPO and list TBS International on the NADAQ. In 2005, TBS International was
listed on the NADAQ. TBS Commercial Group remained a private entity in the hands of the
original shareholders.

33.    In 2006, Captain Meimaris decided to retire. He was 75 years old and wanted to make
room for the next generation and enjoy his family. Mr. Royce asked him to reconsider, but he
did not. He retained his shares in TBS International and his 10% ownership In TBS Commercial
Group. He remained as a consultant through 2011 and continued to advise Mr. Royce when
needed making several business trips to Brazil for the Company. He continued to attend all of
the Company’s semi-annual and annual meetings. He also continued his close friendship with
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Mr. Royce. Captain Meimaris received no compensation as founder or partner compensation
or severance when he retired.

34.    In May of 2006, at Captain Meimaris’ 75th birthday party, his partner, Mr. McNelis told
everyone in the room, that TBS’ success was due to Captain Meimaris and that they could not
have achieved what they did without him.

Captain Meimaris daughter is Hired by Joseph Royce

35.    In October of 2006, Captain Meimaris’ daughter Alkistis, interviewed with Mr. Royce.
He hired her as Head of Global Corporate Development and Training and Deputy Compliance
Oﬃcer, for which because of her background she was fully qualiﬁed She began work on
November 6, 2006

36.    In December of 2006, Tara Demakes, Joseph Royce’s cousin told Alkistis Meimaris and
Captain Meimaris that Lawrence Blatte did not want the Meimaris’ as part of the TBS
Commercial Group any longer.

TBS international Bank Reorganization

37.    The success of TBS International was short lived. By 2010-2011, Mr. Royce and Mr.
Blatte had run TBS to the ground, making self serving bad decisions and sinking millions of
dollars into ventures which everyone advised them not to.          Contrary to advice, they
imprudently invested over 60 million dollars into a venture in Brazil. In fact, they had sent
Captain Meimaris to Brazil several times to advise them about 3 ships. Captain Meimaris and
other professionals vehemently were opposed to the Brazil venture, and when they
continuously advised them against getting involved, they were dropped from conference calls,
leaving Mr. Royce and Mr. Blatte alone to pursue the venture with shareholder money. After
mismanagement by Mr. Royce and Mr. Blatte depleted company funds, the decision was made
to enter into a reorganization.

38.    Ultimately, as a result, the shareholders lost all of their holdings.

39.     Captain Meimaris had close to a million shares which were lost as a result of the
reorganization. Captain Meimaris had tried to sell the shares in the years prior; however, Mr.
Blatte had stopped him several times. Mr. Blatte kept telling him to hold oﬀ on selling because
it did not look good that a major shareholder was selling. Unknown to Captain Meimaris, Mr.
Blatte and Mr. Royce were selling their shares.

40.   Captain Meimaris lost the results of his life’s work with due to Mr. Blatte’s and Mr.
Royce’s deeds.

Mr. Royce and Mr. Blatte       Breach their     Fiduciary Duty and commit Fraud on Captain
Meimaris and the Banks

41.     In 2012, A plan was presented to the banks for the reorganization of TBS International.
The plan provided for, in short, that the banks would hold 90% ownership of TBS International
and the other 10% ownership would be held by the original primary shareholders of TBS
International. The bank upon information and belief accepted the plan only if TBS Commercial
Group was part of the Reorganization Plan.
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42.    Mr. Royce, Mr. Blatte and Mr. McNelis became the holders of the 10% ownership in
the TBS International which emerged from the Plan. They used TBS Commercial Group as
leverage to negotiate the Plan.

43.    Not only was Captain Meimaris squeezed out of TBS International by his partners, but
they used TBS Commercial Group, in which he had a 10% Interest, without his consent.

44.     In October of 2011 Mr. Prieto had tried to get Captain Meimaris to sign over all of his
interests In TBS Commercial Group without compensation. Captain Meimaris refused.

45.     In October of 2011, Mr. Royce had tried to convince Captain Meimaris daughter,
Alkistis, that he was helping out Captain Meimaris by having him sign over his shares to Mr.
Royce. Mr. Royce tried to convince Alkistis, that others were doing the same. Mr. Royce tried
fraudulently to induce Captain Meimaris to sign over his shares by stating others were doing
the same.

46.     In December 2011, Royce went to Captain Meimaris’ home, and in front of Captain
Meimaris,    Helen Meimaris, Angel Meimaris, Alkistis Meimaris and Eleni Papageorgiou, Mr.
Royce tried again to get Captain Meimaris to hand over his shares to Mr. Royce with no
compensation. Mr. Royce simply told Captain Meimaris he needed them. Captain Meimaris
ﬂatly refused. Helen Meimaris and Captain Meimaris both asked Mr. Royce how he could
expect Captain Meimaris to turn over his life’s work for no compensation. Captain Meimaris
and Helen Meimaris both asked Mr. Royce why the other partners were not relinquishing their
shares. Mr. Royce did not respond.

47.     Upon information and belief, Mr. Royce and Mr. Blatte gave the banks the perception
that they had full rights to TBS Commercial Group.

48.    Upon information and belief, Mr. Royce and Mr. Blatte not only defrauded Captain
Meimaris out of his interests in TBS International and TBS Commercial Group, but they
defrauded the Banks into believing that TBS Commercial Group had the consent of all of the
shareholders to be used in the Reorganization.

Captain Meimaris daughter ﬁred from TBS International

49.     In May, 2012, Captain Meimaris Daughter Alkistis was ﬁred from TBS International. She
was told that her position was no longer relevant. Captain Meimaris believed that this was a
direct retaliation for his failure to turn over his stocks. His daughter’s position as Compliance
Oﬃcer was not only relevant but necessary for the Company. Someone his daughter had hired
took over her position.

Jaime Leroux’s Breach of Fiduciary Duty based on Fraud

50.      Jaime Leroux was President of TBS Ecuador, one of the companies under TBS
Commercial Group. Captain Meimaris had gone to Ecuador many many times and had helped
to obtain warehouses for the Commercial Group on prime real estate in Ecuador. In 2011, Mr.
Leroux asked Captain Meimaris to buy some of his interest in a property he was thinking about
buying. Captain Meimaris told Mr. Leroux that he must ask Mr. Royce ﬁrst, as Mr. Royce was
his friend and partner. Captain Meimaris asked Mr. Royce. Mr. Royce told Captain Meimaris to
speak with Mr. Blatte. Mr. Blatte told Captain Meimaris he could not buy the interest. Instead,
Mr. Blatte and Mr. Royce purchased the property in the name of TBS Commercial Group and
upon information and belief, in their own names.
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51.    In March 2013, Jaime Leroux, purportedly a good friend of Captain Meimaris , called
Captain Meimaris to Find out what was going on with TBS Commercial Group. Mr. Leroux
spoke to Captain Meimaris and Alkistis. Mr. Leroux stated that he was trying to reach Mr.
Royce, but could not.

52.     In June 2013, Mr. Leroux called Captain Meimaris and his daughter, Alkistis. He asked
them to send him paperwork documenting his interests in TBS Commercial Group. Alkistis
sent Mr. Leroux the documents. Mr. Leroux stated to Captain Meimaris and Alkistis that he
would protect Captain Meimaris’ interests and that Captain Meimaris had his word that he
would not let Captain Meimaris’ interests be jeopardized by Mr. Royce and Mr. Blatte. Mr.
Leroux would call Captain Meimaris almost every month, feigning friendship, but trying to
obtain information about Mr. Royce and what was happening at TBS.

53.    In September 2013, Jaime Leroux came to the United States and met with Captain
Meimaris, Helen and Alkistis. He again reiterated that he would protect The Captains interests
in TBS Ecuador from Mr. Royce, Mr. Blatte and Mr. McNelis.

54.    In 2014, after Captain Meimaris had passed away, Mr. Leroux came to the United States
and met with Helen and Alkistis. Mr. Leroux said that Captain Meimaris’ shares no longer
existed and that the shares were in the hands of Mr. Blatte, Mr. Royce and Mr. McNelis.

55.    Mr. Leroux had breached his ﬁduciary duty owed to Captain Meimaris and participated
and facilitated the theft committed by Mr. Blatte and Mr. Royce. Mr. Leroux as President of
TBS Ecuador could have stopped Mr. Royce and Mr. Blatte, as his signature was needed to
change the share structure of the Company, however he not only allowed them to steal Captain
Meimaris’ shares, upon information and belief, Mr. Leroux helped facilitate the fraud.

Captain Meimaris passes away

56.    In October 2013, Captain Meimaris was diagnosed with non small cell lung cancer
which had spread to other parts of his body.

57.   Knowing of his illness, prognosis and impending death, Captain Meimaris wrote an
aﬃdavit outlining what Defendants had done to him and his daughter Alkistis wrote a parallel
Aﬃdavit supporting his testimony. Both Aﬃdavits were duly notarized.

58.      The last words to come out of Captain Meimaris mouth was an apology to his wife and
children for what had happened to his shares at the hands of the Defendants. Captain
Meimaris also apologized to his daughter, Alkistis, who had been ﬁred by Joseph Royce in
retaliation.

59.    Captain Meimaris passed away on December 7, 2013.

BASIS FOR DAMAGES

60.     By breaching their ﬁduciary duty to Captain Meimaris and committing fraud, the
defendants caused Captain Meimaris and his wife to suﬀer pecuniary loss. Captain Meimaris
had put his life into building TBS International and TBS Commercial, for which he worked day
and night and on weekends. Defendants disregarded that he was a partner and shareholder.
Defendants unlawfully jettisoned Captain Meimaris rights by disregarding his shares in TBS
International and his 10% ownership of TBS Commercial Group. Defendants fraudulently
usurped a business opportunity presented to Captain Meimaris, causing Captain Meimaris
and his wife Helen, both to suﬀer pecuniary loss.
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61.     The pecuniary harm caused to Captain Meimaris and Helen, his wife, is in the amount of
$20 million dollars. The special damages which Captain Meimaris and Helen are owed from
the defendants is in the amount of $20 million dollars. The plaintiﬀs pray for an additional $50
million dollars in punitive damages.


                  FIRST CAUSE OF ACTION FOR COMMON LAW FRAUD
         (Breach of Fiduciary Duty based on Fraud usurping a Corporate Opportunity)

62.      Plaintiﬀ’s repeats and reasserts the allegations of paragraphs 1 through 61 as though
fully set forth herein.

63.    In 2011 Jaime Leroux approached Captain Meimaris to become a business partner and
enter into an agreement with him, in an unrelated venture to TBS Commercial Group,
concerning the purchase of property and/or buildings (the “Agreement”) Mr. Leroux was
looking for an investor.

64.    Captain Meimaris approached Joseph Royce just to let him know that he would be
entering into this agreement with Mr. Leroux. Joseph Royce was Captain Meimaris’ partner, as
was Mr. Blatte. They both owed a ﬁduciary duty to Captain Meimaris as partners. Mr. Royce
also owed a ﬁduciary duty to Captain Meimaris as a majority shareholder.

65.   Mr. Royce and Mr. Blatte told Captain Meimaris that he could not enter into the
agreement with Mr. Leroux as it was in conﬂict with his interests in TBS.

66.    Mr. Royce and Mr. Blatte knowingly falsely represented to Mr. Meimaris that it was a
conﬂict of interest for him to enter into a contract with Mr. Leroux with the intent of having
Captain Meimaris refrain from entering into the Agreement himself. Their statement was
deliberately misleading and a material misrepresentation of the truth.

67.     Mr. Royce and Mr. Blatte both knew that this opportunity which Mr. Leroux presented to
Captain Meimaris had nothing to do with Captain Meimaris’ interests in TBS Commercial
Group or his interests in TBS International. Mr. Royce and Mr. Blatte were both well aware that
it was not a conﬂict of interest. However, theywanted the business opportunity for themselves.
They deliberately made the statement to Captain Meimaris with the intent to deceive him. Mr.
Royce knew that Captain Meimaris would trust and believe him as they were longtime friends.
In doing this, Mr. Royce and Mr. Blatte breached the duty of care, duty of loyalty and duty of
honesty owed to Captain Meimaris.

68.    Captain Meimaris ultimately relied on Mr. Royce’s and Mr. Blatte’s        misleading
representations, to his detriment did not enter into the agreement with Mr. Leroux, thereby
losing this business opportunity. Captain Meimaris had no knowledge of the falsity of Mr.
Royces’s statement and relied on the statement as he always trusted Mr. Royce and believed
his words to be true.

69.    Mr. Leroux told Captain Meimaris that he had spoken with Mr. Royce and Mr. Blatte.
Mr. Leroux stated that Mr. Royce and Mr. Blatte had told him that they wanted the opportunity
for themselves. Therefore, Mr. Blatte’s and Mr. Royce’s misleading representations to Captain
Meimaris were a deliberate plan to deter Captain Meimaris from pursuing and beneﬁtting from
a business opportunity.
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70.    Upon information and belief Mr. Royce and Mr. Blatte entered into the Agreement with
Mr. Leroux concerning the warehouses. They did so either unilaterally or through TBS
Commercial Group.

71.   Mr. Royce and Mr. Blatte usurped this opportunity from Captain Meimaris, thereby
committing fraud and fraudulently breaching their ﬁduciary duty to Captain Meimaris.

72.      Captain Meimaris’ reliance on the Defendants statements resulted in injury to him. He
lost a lucrative business opportunity.

73.     Defendants not only committed statutory fraud, including but not limited to §349 of the
Deceptive Practices Act under General Business Law, but also committed common law fraud
upon Captain Meimaris.        Defendants committed all elements of Common Law Fraud.
Defendants also committed all elements of breach of ﬁduciary duty upon Captain Meimaris.
Further, Defendants knew of Captain Meimaris’ condition of Trigeminal Neuralgia and took
advantage of him in his state of illness.

74.    Defendants fraud and breach of ﬁduciary duty based upon Fraud caused the Plaintiﬀs
pecuniary damage, speciﬁc damage and exemplary damage.

75.    Plaintiﬀs seek punitive damages against defendants to deter them from engaging in
such practices again.

                               SECOND CAUSE OF ACTION
      (Fraudulently inducing Captain Meimaris to not sell his shares in TBS International)

76.      Plaintiﬀ’s repeats and reasserts the allegations of paragraphs 1 through 75 as though
fully set forth herein.

77.     Captain Meimaris had on various occasions tried to sell oﬀ the bulk of his shares in TBS
International. He was 80 years old and wanted to enjoy the fruits of his labors with his wife and
children.

78.    His partners, Mr. Royce and Mr. Blatte had told him that he must consult them any time
he wanted to sell shares. They also told him that he was an insider, and as such, could only
trade within the trading window as mandated by the Company. The trading window opened
up every few months or so. Captain Meimaris agreed to apprise Mr. Royce and Mr. Blatte of
how many shares he traded and that he would trade only within the company trading window.

79.     Each time Captain Meimaris approached Mr, Royce and Mr. Blatte about selling a bulk
of his shares, he was told that he could not sell a lot of shares. He was speciﬁcally told by Mr.
Royce and Mr. Blatte, that if a major shareholder of the company sold shares it would not look
good to the public and jeopardize the company. They stated outright that “it would hurt the
Company if you sold a lot of shares”. This was a misleading material misrepresentation of the
truth. Mr. Royce and Mr. Blatte intended for Captain Meimaris to rely on their statements.

80.    Captain Meimaris relied on Mr. Royce’s and Mr. Blatte’s statements. He respected the
wishes of his partners, believing their logic of why he should not sell shares. He did not want to
jeopardize the Company in any manner and therefore did not sell any of his shares.

81.    In particular, in May of 2008, Captain Meimaris was asked to stop selling his shares by
the defendants. This can be conﬁrmed by Frank Pitella, the former Comptoller of TBS
International who recalls that Captain Meimaris was asked to stop trading.
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82.     Captain Meimaris abided by the Defendants request not to sell any more shares in May
2008. He relied on the Defendants statements that it would hurt the Company. Captain
Meimaris had absolutely no knowledge that Mr. Royce’s and Mr. Blatte’s statements about
trading his shares was false. He relied on its truth because he trusted his friends and partners.

83.     Meanwhile, Defendants collectively sold over 1,600,000 shares in the period of time
between May 2008 and August 2008, and Gregg McNelis, Captain Meimaris’ other partner,
sold 375,000 because the price of shares were high at $51.00 per share. Captain Meimaris
was not aware that Mr. Royce and Mr. Blatte were actually selling such a large amount of their
shares and that he had been lied to by Mr. Royce and Mr. Blatte, about selling his own shares.

84.     Once again, Captain Meimaris was tricked by Mr. Royce and Mr. Blatte.              They
fraudulently induced Captain Meimaris to not sell his shares, so that they could sell their own
shares.

85.    Defendants had represented to Captain Meimaris that selling a bulk of his shares would
harm the Company. This representation was untrue, as they were in fact selling enormous
amounts of shares at that time. They knew when they made the statement to Captain
Meimaris that the statement was false. The statement was made with the intent to deprive
Captain Meimaris of the right to sell his shares at a high price and with the intent to deprive him
of money from the sale of shares. They knew Captain Meimaris would listen to them and they
fraudulently induced him not to act by their deliberate material misrepresentations. Captain
Meimaris relied on their representations and did not sell.

86.     Upon information and belief Mr. Royce and Mr. Blatte knew that their Company would
be going into a reorganization and they wanted to get rid of some of their shares so as not to
lose money, from a drop in share price thereby preventing Captain Meimaris from selling his
shares.

87.     Captain Meimaris was left with almost a million shares which were valueless because
the Company went into reorganization before Captain Meimaris had the chance to sell them,
following instruction not to sell by his partners/friends.

88.    These Defendants owed a ﬁduciary duty to Captain Meimaris, as partners and majority
shareholders, which they breached by fraudulently inducing Captain Meimaris not to sell
shares.     They blatantly and deliberately misled Captain Meimaris with material
misrepresentations of the truth. They breached the duty of care, duty of loyalty and duty of
honesty owed to Captain Meimaris thereby committing statutory fraud and common law fraud
on Captain Meimaris. Further, Defendants knew of Captain Meimaris’ condition of Trigeminal
Neuralgia and took advantage of him in his state of illness.

89.  These Fraudulent acts and breach of ﬁduciary duty caused the Plaintiﬀs pecuniary
damage, speciﬁc damage and exemplary damage.

90.   Plaintiﬀs seek punitive damages against defendants to deter them from further
engaging in such practices again.

                                THIRD CAUSE OF ACTION
  (Breach of Fiduciary Duty based on Fraudulently pushing Captain Meimaris out of the Bank
                                    Reorganization deal)
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91.      Plaintiﬀ’s repeats and reasserts the allegations of paragraphs 1 through 90 as though
fully set forth herein.

92.   In 2010-2011, the founding shareholders of TBS International were working on an
agreement whereby they would put $10 million into the Company.

93.    Captain Meimaris learned of this agreement with the banks and asked Mr. Royce on a
few occasions if he needed to do anything. Mr. Royce told Captain Meimaris that they were
handling it and not to worry about his interests. Captain Meimaris asked Mr. Royce if he
needed to put any money in for the deal. Mr. Royce told him not to worry about it, that they
were handling it , that he would let Captain Meimaris know if they needed anything and that
they were protecting his interests.

94.    It was later found out that Mr, Royce, Mr, Blatte and Mr. McNelis took preferred shares
in TBS International as a result of the Agreement among themselves.

95.   When TBS International began to go through the reorganization process, Captain
Meimaris, as a founding shareholder, asked Mr. Royce again if there was anything needed from
him. Mr. Royce told him not to worry, that it was being handled.

96.     In February 2012, the Reorganization Plan was introduced to the Bankruptcy Court. The
Reorganization Plan provided for the banks owning 90% of the Company and for 10%of the
Company to be owned by Mr. Royce, Mr. Blatte and Mr. McNelis. They had used their
preferred shares to remain as shareholders in the reorganization.

97.   Captain Meimaris’ partners had fraudulently pushed him out of 10% ownership of the
new TBS.

98.    These partners owed a ﬁduciary duty to Captain Meimaris, as partners and majority
shareholder, to include him in the deal and they fraudulently kept him out, leading the banks to
believe that Captain Meimaris had no interest in the Company in which he was one of the
founders.

99.     Mr. Royce had made a material and deliberate false and misleading representation to
Captain Meimaris that he did not need to participate in their Agreement and that he did not
need to put money into it and that his interests were protected. Mr. Royce knew that his
representation was false and untrue. Mr. Royce made his statement with the intent to deceive
Captain Meimaris and prevent Captain Meimaris from protecting his interests by participating
with the other defendants in the Agreement/Deal.

100. Mr. Royce and Mr. Blatte knew that the Company would be going into a reorganization
and they wanted to protect their interests while denying another founding partner, Captain
Meimaris, the right to protect his interests. The Defendants breached the duty of care, duty of
loyalty and duty of honest to Captain Meimaris. These Defendants committed statutory fraud
and common law fraud on Captain Meimaris as well as breaching their ﬁduciary duty owed to
him Further, Defendants knew of Captain Meimaris’ condition of Trigeminal Neuralgia and took
advantage of him in his state of illness.

101.    Captain Meimaris reasonably relied on Mr. Royce’s representations.

102. This Breach of Fiduciary Duty based upon Fraud caused Plaintiﬀs pecuniary damage,
speciﬁc damage and exemplary damage.
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103. Plaintiﬀs seek punitive damages against defendants to deter them from further
engaging in such practices.

                                FOURTH CAUSE OF ACTION
   (Fraudulently stealing Captain Meimaris’ shares and interests in TBS Commercial Group)

104. Plaintiﬀ’s repeats and reasserts the allegations of paragraphs 1 through 103 as though
fully set forth herein.

105. Defendants, Tulio Prieto and Mr. Royce had tried on several occasions to have Captain
Meimaris give up his shares (10% ownership ) in TBS Commercial Group.

106. Mr. Prieto sent Captain Meimaris a document to sign, through Tara Demakes, which
stated that Captain Meimaris was giving up all of his rights and interests in TBS Commercial
Group for no compensation. Captain Meimaris refused to sign this document .

107. Mr, Royce had tried to convince Captain Meimaris’ daughter Alkistis Meimaris, that
others were also giving up their shares in TBS Commercial Group. She did not believe Mr.
Royce and told her father he was lying.

108. Mr. Royce went as far as going to Captain Meimaris’ home in December 2011 to ask
Captain Meimaris and Helen Meimaris to give up their shares in TBS Commercial Group.
Captain and Mrs. Meimaris ﬂatly refused, telling Mr. Royce that Captain Meimaris would not
give up his life’s work for no compensation.

109.    In 2012, TBS Commercial Group was used in the TBS International Reorganization.

110. Upon information and belief, TBS Commercial Group was a condition precedent to the
TBS International Reorganization.

111. Captain Meimaris was never asked, nor consented to the use of TBS Commercial
Group, a private entity owned solely by Captain Meimaris, Mr. Royce, Mr. McNelis and Mr.
Blatte.

112. Defendants used The TBS Commercial Group without Captain Meimaris’ consent or
knowledge.

113. Defendants defrauded Captain Meimaris by using an entity in which he was 10% owner
knowledge or consent.

114. Defendants defrauded the Banks into thinking that Defendants had the right to use TBS
Commercial Group as part of the TBS International Reorganization.

115. Defendants beneﬁtted from the use of TBS Commercial Group at the expense of
Captain Meimaris.

116. Upon information and belief, Defendants either forged Captain Meimaris’ consent to the
use of TBS Commercial Group, or closed and reopened the Companies in the TBS Commercial
Group under other names and ownership, or they simply unilaterally dropped Captain Meimaris
from his position in the Companies in then Group.

117.    Defendants committed Fraud with the intent to deprive Captain Meimaris of his shares.
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118. When Defendants submitted TBS Commercial Group as part of the TBS International
Reorganization without the knowledge or consent of Captain Meimaris, they were committing
Fraud on the Banks as well as on Captain Meimaris.

119. The Defendants use of TBS Commercial          Group as part of the Reorganization was a
material misrepresentation to the Banks as to      which defendants had no authority. The
Defendants deliberately misled the Banks into to   believing that all of the members of the TBS
Commercial Group agreed to this submission.         Defendants statements were material and
misleading.

120. TBS Commercial Group was a condition of the reorganization. The Banks, relying on
Defendants representations continued on with the reorganization of TBS International.

121. The Defendants made these representations with the intent to deceive the Banks,
inducing the banks to continue with the reorganization, which the Banks did.

122.    The Banks justiﬁably relied on the Defendants representations.

123. TBS Commercial Group was not at liberty to be used in the reorganization without the
consent of its 10% shareholder, Captain Meimaris. Therefore, the reorganization should be
deemed null and void based upon such a material misrepresentation.

124. Defendants acted with the intent to deprive Captain Meimaris of his shares. When
Defendants had approached Captain Meimaris to transfer his shares to them, Captain
Meimaris believed that his refusal to transfer meant that he still retained his 10% ownership in
TBS Commercial Group. The Defendants failure to let to Captain Meimaris know of the fact
that they were using TBS Commercial Group as part of the reorganization was intentional. The
Defendants intended to deprive Captain Meimaris of his shares by not divulging to him what
was going on with the reorganization. Captain Meimaris relied on this omission to his
detriment. He was left with no shares in TBS Commercial Group.

125. The Defendants committed statutory fraud and common law fraud against the Banks
and against Captain Meimaris. Defendants owed Captain Meimaris a ﬁduciary duty as partners
and majority shareholder. They breached their duty of care, duty of loyalty and duty of honesty
owed to Captain Meimaris. Further, Defendants knew of Captain Meimaris’ condition of
Trigeminal Neuralgia and took advantage of him in his state of illness.

126. These blatant acts of Fraud and breaches of ﬁduciary duty caused Plaintiﬀs pecuniary
damage, speciﬁc damage and exemplary damage.

127. Plaintiﬀs seek punitive damages against defendants to deter them from engaging in
Such practices again.

                                   FIFTH CAUSE OF ACTION
       (Fraudulent transfer of Captain Meimaris’ interests in TBS Ecuador by Jaime Leroux)

128. Plaintiﬀ’s repeats and reasserts the allegations of paragraphs 1 through 127 as though
fully set forth herein.

129. In 2012, Jaime Leroux requested that Captain Meimaris send him documents indicating
his ownership in TBS Commercial Group. This documentation was sent to Mr. Leroux.
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130. In 2013, Mr. Leroux came to the United States and during a dinner meeting assured
Captain Meimaris, Helen Meimaris and Alkistis Meimaris that he would protect Captain
Meimaris’ interests and never give Captain Meimaris’ shares up to Mr. Royce or Mr. Blatte.
Captain Meimaris relied on this assurance.

131. In 2014, Mr. Leroux came to the United States and during a dinner meeting told Helen
Meimaris and Alkistis Meimaris that Captain Meimaris’ shares no longer existed and that he
had nothing to do with this. Mr. Leroux stated that Mr. Royce, Mr. Blatte and Mr. Mcnelis held
all the shares in TBS Ecuador.

132. Upon information and belief, as President of TBS Ecuador, Mr. Leroux facilitated the
transfer of Captain Meimaris’ shares to Mr. Royce, Mr. Blatte and Mr. McNelis and or the
closing of the original TBS Ecuador and reopening of a new TBS Ecuador without Captain
Meimaris as a shareholder.

133. Mr. Leroux as the President of TBS Ecuador had made a representation to Captain
Meimaris that his shares would be safe with Mr. Leroux as President.

134. Captain Meimaris relied on this representation of Mr. Leroux and felt conﬁdent that his
shares in TBS Ecuador were safe based upon Mr. Leroux’s representations. Captain Meimaris
also had asked Mr. Leroux, on at least three occasions, for the documents in spanish which
indicated his interest in TBS Ecuador. Mr. Leroux kept promising to send them to Captain
Meimaris, however, he never did. Mr. Leroux knew that his statement of keeping Captain
Meimaris’ shares safe was untrue. It was a material statement which was deliberately made to
mislead Captain Meimaris. Captain Meimaris had no knowledge that it was false.

135. Upon Information and belief, Mr. Leroux not only knew about Captain Meimaris’ shares
being stolen from him by Mr. Royce and Mr. Blatte, but Mr. Leroux helped to eﬀectuate the
transfer as President of TBS Ecuador.

136. Upon information and belief, Mr. Leroux had requested the documents from Captain
Meimaris to use to transfer Captain Meimaris’ shares to Defendants. Mr. Leroux intended to
deceive Captain Meimaris when he requested the documents and when he told Captain
Meimaris that he would protect Captain Meimaris’ interests.

137. Captain Meimaris justiﬁably relied on Mr. Leroux’s representations and was caused
harm.

138. Mr. Leroux and the other Defendants committed statutory fraud and common law fraud
on Captain Meimaris. Mr. Leroux and the other Defendants as partners and major shareholder
breached the duty of care, duty of loyalty and duty of honesty owed to Captain Meimaris. Mr.
Leroux knew of Captain Meimaris’ condition of Trigeminal Neuralgia and took advantage of him
in his state of illness.

139. This Breach of Fiduciary Duty based upon Fraud caused Plaintiﬀs pecuniary damage,
speciﬁc damage and exemplary damage.

140. Plaintiﬀs seek punitive damages against defendants to deter them from further
engaging in such practices.
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                                    SIXTH CAUSE OF ACTION
                                   (Conspiracy to commit Fraud)

141. Plaintiﬀ’s repeats and reasserts the allegations of paragraphs 1 through 140. as though
fully set forth herein.

142. Defendants Mr. Royce, Mr. Blatte and Tulio Prieto conspired to deprive Captain
Meimaris of his interest in TBS Commercial Group.

143.    Mr. Prieto tried to get him to sign over his shares in writing.

144. Mr. Royce tried to force him to transfer his ownership through lies by telling Captain
Meimaris’ daughter that others were doing the same.

145.    When all else failed, Mr. Royce asked for the shares outright in December of 2011.

146. When Captain Meimaris would not transfer his ownership in TBS Commercial Group,
the Defendants conspired to take them away from Captain Meimaris by other means, which
they ultimately did.

147. Defendants Mr. Royce and Mr. Blatte conspired to usurp the business opportunity
presented to Captain Meimaris by Jaime Leroux in Ecuador.

148. Defendants hatched a plan to tell Captain Meimaris that the Ecuador business
opportunity was in conﬂict with his interests in TBS. Captain Meimaris believed the defendants
and did not pursue the opportunity. Defendants pursued the opportunity for themselves,
carrying out their conspiracy by obtaining it for themselves.

149. Defendants conspired to deprive Captain Meimaris’ rights to obtain preferred shares in
TBS International. They formulated a plan whereby they would tell Captain Meimaris that he
did not need to do anything and to leave everything up to them and that his interests would be
protected. Defendants furthered the conspiracy by putting the plan into action to push
Captain Meimaris out of their own Agreement/Deal to obtain the shares in TBS.

150. Defendants conspired to deprive Captain Meimaris the rights to cash in his shares to
TBS International. In order to prevent him from selling they hatched a plan to tell Captain
Meimaris that it would hurt the Company if he sold a lot of his shares. They carried out this
plan to Captain Meimaris’ detriment.

151. Defendants conspired to prevent Captain Meimaris from participating in the
Reorganization of TBS International. Knowing that they were headed for a reorganization they
planned to take preferred shares in TBS International so that they could receive an interest in
the new company after the reorganization. They planned to tell Captain Meimaris that he need
not do anything with regard to contributing to the Agreement/Deal reached by Defendants and
they would protect his interests. Defendants furthered their conspiracy plan to Captain
Meimaris’ detriment.

152. Upon information and belief, the mastermind behind these conspiracies to commit
fraud and breach of ﬁduciary duty was Mr. Blatte. Mr. Blatte, had no shipping knowledge. Mr.
Blatte, who upon information and belief had participated in many underhanded unethical plots
to beneﬁt himself, had told Tara Demakes in 2006, that he did not want the Meimaris’ as part
of the TBS Commercial Group.
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153. Mr. Blatte, upon information and belief devised the plans to not only usurp business
opportunities from Captain Meimaris and prevent him from selling his shares in TBS
International but to take away his interests in TBS Commercial Group. Mr. Blatte also devised
the Plan to keep Captain Meimaris out of the TBS International Reorganization and deny him
the rights of preferred shares..

154. Mr. Blatte with the assistance of Mr. Royce conspired to ruin Captain Meimaris
ﬁnancially and take away his rightful holdings and opportunities.

155. Defendants conspired to commit fraud on Captain Meimaris by hatching plots to
deprive him of his shares in the new company after the reorganization, by conspiring to deprive
him of his shares in TBS International, by conspiring to deprive him of cashing in his shares in
TBS International, by depriving him of a business opportunity and by depriving him of his
shares in TBS Ecuador. Further, Defendants knew of Captain Meimaris’ condition of Trigeminal
Neuralgia and took advantage of him in his state of illness. These parties agreed to commit
fraud and breach ﬁduciary duties owed to Captain Meimaris and they took various actions to
further their agreements as herein stated, completing their conspiracy against Captain
Meimaris.

156. These Conspiracies to commit Fraud and breach of ﬁduciary duties caused Plaintiﬀs
pecuniary damage, speciﬁc damage and exemplary damage.

157. Plaintiﬀs seek punitive damages against defendants to deter them from further
engaging in such practices.

                             SEVENTH CAUSE OF ACTION
                    (TBS SHIPPING SERVICES INC. Knowledge of Fraud)

158. Plaintiﬀ’s repeats and reasserts the allegations of paragraphs 1 through 157. as though
fully set forth herein.

159. Upon Information and belief TBS Shipping Services Inc. and its principals had
knowledge of Captain Meimaris’ ownership in TBS Commercial Group. Captain Meimaris’
name had been all over all documents concerning TBS Commercial Group.

160. Upon information and belief TBS Shipping Services Inc. and it’s principals failed to
question Captain Meimaris’ exclusion from new agreements involving TBS Commercial Group.

161. Upon information and belief TBS Shipping Services Inc. and it’s principals were well
aware of all of the actions of the other Defendants including the theft, the fraud and the
conspiracy.

162. This Defendant had the opportunity to opt out of the wrongdoings and illegal actions of
the Defendants, yet they chose not to.

163. This Defendants participation in all of the wrongdoings and illegal actions caused
Plaintiﬀs pecuniary damage, speciﬁc damage and exemplary damage.

164. Plaintiﬀs seek punitive damages against defendants to deter them from further
engaging in such practices.
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                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiﬀ’s respectfully pray for relief against Mr. Royce, Mr. Blatte,
Mr. Prieto, Mr. Leroux and TBS Shipping Service s Inc. as follows:

       (A)    Compensatory damages for Breach of Fiduciary Duty based upon Fraud for
usurping the corporate opportunity;

       (B)    Compensatory damages for Fraudulent Inducement for Captain Meimaris to sell
his shares and breach of ﬁduciary duty;

       (C)   Compensatory damages for Breach of Fiduciary Duty based upon Fraud for
pushing Captain Meimaris out of the TBS International Reorganization deal;

      (D)   Compensatory damages for Fraudulently stealing and dispensing with Captain
Meimaris 10% interest in TBS Commercial Group and breach of ﬁduciary duty;

       (E)    Compensatory damages for the Breach of Fiduciary duty based upon Fraud for
Jaime Leroux facilitating the transfer of Captain Meimaris’ shares;

       (F)    Compensatory damages for Conspiracy to commit Fraud and Conspiracy to
breach ﬁduciary duties owed to Captain Meimaris ;

        (G)   Compensatory damages in no less than $20 million for injury resulting from the
loss of the 10% interest in TBS Commercial Group and the lost business opportunity from all
Defendants;

       (H)   Special damages in the amount of $20 million representing the amount of money
Captain Meimaris could have received has he been allowed to sell his shares from all
Defendants and representing all of the breach of ﬁduciary duties by the Defendants;

      (I)    Exemplary damages in the amount of $20 million representing the harm amount
caused by Defendants wanton willful misconduct.

       (J)      Punitive damages for the wanton, malicious and intentional Breaches of
Fiduciary Duty based upon Fraud, Fraud and Conspiracy to commit Fraud, in the amount of
$50 million, from all Defendants;

      (K)     Interest, Costs and reasonable Attorney’s fees incurred by the Plaintiﬀs in the
prosecution of this action and

       (L)    Any other such further relief as the Court deems Just and Proper.
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                                  DEMAND FOR JURY TRIAL

      Plaintiﬀs respectfully demand a trial by jury for all issues so triable in this action.




Dated: May 21, 2018
       New York City, New York


                                      By:     /s/ Alkistis G. Meimaris, Esq.

                                              Alkistis G. Meimaris, Esq. For Plaintiﬀs

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